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 DEFENDANT:               Mohammed Sabry SOLIMAN

 YOB:                     1979

 ADDRESS
 (CITY/STATE):            Colorado Springs, CO

 OFFENSE(S):              18 U.S.C. § 249(a)(1), (2) - Hate crime involving actual or perceived race,
                          religion, or national origin

 LOCATION OF
 OFFENSE:                 Boulder County, Colorado

 PENALTY:                 NMT 10 years’ imprisonment; NMT 5 years’ supervised release; NMT
                          $250,000 fine; $100 Special Assessment

 AGENT:                   Jessica Krueger
                          Special Agent, Federal Bureau of Investigation

 AUTHORIZED BY: Melissa Hindman
                Assistant U.S. Attorney

 ESTIMATED TIME OF TRIAL:

      five days or less          X         over five days

 THE GOVERNMENT will seek detention in this case based on 18 U.S.C. § 3142(f)(1)(A)

 The statutory presumption of detention is applicable to this defendant.

 OCDETF CASE:                        Yes        X    No




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